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MDL
EXHIBIT 6

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From: Donald Haviland [mailto:haviland@havilandiaw.com] Filed T2/st/0/ Page 2 of 15
Sent: Wednesday, December 05, 2007 2:52 PM

To: Dauphine, Dawn; ‘Herold, Frederick’

Ce: Larry Crown

Subject: Stip pf Dismissal

Dawn and Fred,
| am sending this to both of you, since we have folded into a larger stip the one Fred provided us for his client.

We believe this will have to be done by Motion under Ariz Rule 41.
Fred, we will do 2 separate Orders, since the GSK Order is with prejudice
Pls let us know as soon as possible whether this Stip can be filed.

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Attorneys for Plaintiffs and Class

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

IN AND FOR THE COUNTY OF MARICOPA

ROBERT J. SWANSTON, individually and on
behalf of himself and all others similarly situated,

Plaintiff,
VS.

TAP PHARMACEUTICAL PRODUCTS, INC.;
et al.,

Defendants.

WHEREAS there exist certain overlapping claims and defendants in this case and in

Inre Pharmaceutical Industry Average Wholesale Price Litigation, CA No. 01-12257-PBS,

MDL No. 1456 (D. Mass.) (“MDL 1456”);

WHEREAS to eliminate these overlapping claims, Plaintiffs and the Defendants
below have agreed that Plaintiffs will dismiss without prejudice all overlapping claims to
avoid conflicting jurisdiction between this Court and the MDL 1456 Court; and

WHEREAS, the Plaintiffs agree that Plaintiffs claims’ were resolved in connection

with a settlement of class claims entered into by Defendants SmithKline Beecham

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CV2002-004988

STIPULATION FOR DISMISSAL OF
CERTAIN CLAIMS AND
DEFENDANTS

(Assigned to the Honorable Janet E.
Barton)

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Corporation d/b/a GlaxoSmithKline (hereinafter “GSK”), GlaxoSmithKline, plc, and Glaxo
Wellcome, Inc., (hereinafter referred to collectively as the “GSK Defendants’) in MDL 1456.
As a result, Plaintiffs agree to dismiss, with prejudice, their claims against the GSK
Defendants;
WHEREAS, Plaintiffs have decided to dismiss voluntarily their claims against the
following Defendants: Ethicon Endo-Surgery, Indigo Medical Inc., Christopher Coleman,
Michael T. Gendelman, Eddy James Hack, Scott Hidalgo, and David Jett.
THEREFORE the parties agree as follows:
(1) the following defendants are Defendants in this case and MDL 1456:
Abbott Laboratories; Amgen Inc.; Zeneca, Inc.; AstraZeneca
Pharmaceuticals L.P.; Aventis Pharmaceuticals Inc.; Hoechst Marion
Roussel, Inc.; ZLB Behring, L.L.C. (f/k/a Aventis Behring L.L.C.);
Baxter International Inc.; Baxter Healthcare Corporation, Bayer
Corporation; Bristol-Myers Squibb Co.; Oncology Therapeutics
Network Corp.; Apothecon, Inc.; Dey, Inc.; Fujisawa Healthcare, Inc.;
Fujisawa USA, Inc.; GSK Defendants; Immunex Corporation; Johnson
& Johnson; Centocor, Inc.; Ortho Biotech Products, L.P.; Pharmacia
Corporation; Pharmacia & Upjohn LLC, f/k/a Pharmacia & Upjohn,
Inc.; Monsanto Company; Schering-Plough Corporation; Warrick
Pharmaceuticals Corporation; Sicor, Inc.; Gensia, Inc., and Gensia
Sicor Pharmaceuticals, Inc.;

(2) to the extent Plaintiffs’ claims in this case for alleged unlawful
conduct relating to the marketing and sales of drugs overlap with the
pending claims being asserted in MDL 1456 as to those same drugs,

the undersigned parties agree, pursuant to Rule 41(a) of the Arizona

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(3)

(4)

(5)

Rules of Civil Procedure, that such claims should be dismissed without
prejudice;

in view of the above-described settlement, the parties agree that the
Plaintiffs’ claims against the GSK Defendants should be dismissed
with prejudice;

the parties agree to the dismissal without prejudice of Plaintiffs’ claims
against the following Defendants (who are not Defendants in MDL
1456): Ethicon Endo-Surgery, Indigo Medical Inc., Christopher
Coleman, Michael T. Gendelman, Eddy James Hack, Scott Hidalgo,
and David Jett.; and

subject to and specifically reserving all defenses, the parties agree that
(a) defendants do not waive or release any defenses or arguments,
including but not limited to, any statute of limitations and/or repose
defenses, which could have been asserted prior to the effective date of
the Order granting dismissal, and (b) any and all applicable statutes of
limitations and/or repose are, from the effective date of the Order
granting dismissal and for the pendency of MDL 1456, tolled and the
reinstatement of any Defendant to this action will not trigger a right of

removal to federal court.

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RESPECTFULLY SUBMITTED this ___ day of December, 2007.

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